                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            Case No.: 20-22916-Civ-COOKE/REID

CHARLTON EDWARD LACHASE,

         Plaintiff
vs.

BUTNER FEDERAL MEDICAL CENTER et al.,

      Defendants.
___________________________________________/
      ORDER ADOPTING MAGISTRATE’S REPORT AND RECOMMENDATION
        THIS MATTER was referred to the Honorable Lisette M. Reid, United States
Magistrate Judge, pursuant to 28 U.S.C. § 636(b)(1)(B) and Administrative Order 2019-2 of
this Court, for a ruling on all pre-trial, non-dispositive matters and for a Report and
Recommendation on any dispositive matters (ECF No. 2). On September 16, 2020, Judge
Reid issued a Report of Magistrate Judge (ECF No. 5) recommending that Plaintiff’s case
be transferred to the United States District Court for the Eastern District of North Carolina
because venue is improper here. Plaintiff has not objected to Judge Reid’s Report and the
time to do so has passed.
        I have considered Judge Reid’s Report, Plaintiff’s Complaint, the relevant legal
authority, and have made a de novo review of the record. I find Judge Reid’s Report clear,
cogent, and compelling.       Accordingly, it is ORDERED and ADJUDGED that Judge
Reid’s Report of Magistrate Judge (ECF No. 5) is AFFIRMED and ADOPTED. The
Court directs the Clerk to TRANSFER this case to the Eastern District of North Carolina.
         DONE and ORDERED in Chambers at Miami, Florida, this 19th day of October
2020.




              Case 5:20-ct-03328-D Document 6 Filed 10/19/20 Page 1 of 2
Copies furnished to:
Lisette M. Reid, U.S. Magistrate Judge
Charlton Edward LaChase, pro se




            Case 5:20-ct-03328-D Document 6 Filed 10/19/20 Page 2 of 2
